The court finds these facts: "That the seven voters, above referred to in the agreement of counsel, voted in favor of the tax and were at the time within the poll-tax age and liable for poll tax, and had not paid their taxes for the year 1912, that is to say, following it, on 29 April, 1912, which was payable according to Article VI, sec. 4, of the Constitution, on or before 1 March, 1913; that two of the voters, as above stated subject to poll tax, voted against said tax who were due for the poll tax of 1912, and also payable on or before 1 May, 1913."
The judge finds further that if the seven voters were not qualified to vote it is conceded that the election fails by a vote of 19 to 22, and thereupon renders the following judgment: *Page 730 
"Upon the foregoing findings of fact, and in view of the provision contained in the Constitution, Article VI, sec. 1 and sec. 4, and Article V, sec. 1, the court construes the words, `Every person presenting himself for registration, etc., and before he shall be entitled to vote, he shall have paid, on or before the first day of May of the year in which he proposes to vote, his poll tax for the previous year,' as meaning what it says, that if he proposes to vote he must pay his poll tax for the previous year. If there is no election before the first of May he has the option to wait until the first day of May in which to pay his poll tax; but if he seeks the privilege of his sovereign right to vote before the first day of May, and he has not paid his poll tax for the previous year, as required by the Constitution, then I hold that he must pay his tax as a condition precedent before he votes. This must be the intention of the Constitution, otherwise the voter at an election held in the spring of the year will have some peculiar advantage, or may evade tax and thus be on a (677)  different footing from the voter who votes in November. For this reason the court holds that the election failed and was void and that any levy of tax made under it is also void, and that the injunction heretofore ordered by Judge Webb is made permanent. It is further ordered that the costs be paid by the defendant, to be taxed by the clerk."
From the judgment rendered, defendant the board of commissioners appeal.
The interpretation of the Constitution of the State by the learned judge of the Superior Court, is in our opinion, correct and his reasoning conclusive. The judgment is
Affirmed.